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                                                 EXHIBIT A

Dismissing Texas         NDOH File No.     Signed With Permission           Dismissing Plaintiff’s Counsel
  Subdivision
Angelina County          1:20-op-45053        /s/ Simon Greenstone    Dies & Parkhurst, L.L.P.; Simon Greenstone
                                                   Panatier, P.C.                      Panatier, P.C
  Bailey County          1:20-op-45264    /s/ Fears Nachawati, PLLC     Fears Nachawati, PLLC; Ferrer Poirot &
                                                                                       Wansbrough
  Blanco County          1:19-op-45237       /s/ Simon Greenstone        Simon Greenstone Panatier, P.C.; The
                                                  Panatier, P.C.        Armstrong Firm, PLLC; Martin Walker,
                                                                         P.C.; James M. Harris, Jr.; Jeffrey Law
                                                                                  Firm; Chris Byrd Law
  Bowie County           1:17-op-45159        /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Dunn
                                                   Panatier, P.C.        Nutter & Morgan; Martin Walker, P.C.
  Brazos County          1:18-op-45863    /s/ Fears Nachawati, PLLC     Fears Nachawati, PLLC; Ferrer Poirot &
                                                                            Wansbrough; Matthew S. Daniel
  Camp County            1:18-op-45301       /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Martin
                                                  Panatier, P.C.                       Walker, P.C.
 Cherokee County         1:17-op-45155       /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Martin
                                                  Panatier, P.C.        Walker, P.C.; Richards Penn; Ament &
                                                                                         Peacock
 Childress County        1:18-op-45229        /s/Haley & Olson            Altman Legal Group; Harrison Davis
                                                                        Steakley Morrison Jones, P.C.; Haley &
                                                                                          Olson
  City of Laredo         1:18-op-46026     /s/Napoli Shkolnik, PLLC     Napoli Shkolnik, PLLC; Luis R. Vera &
                                                                                        Associates
City of San Antonio      1:19-op-45833      /s/Baron & Budd, P.C.     The Herrera Law Firm; Baron & Budd, P.C.;
                                                                       Greene, Ketchum, Farrell, Bailey & Tweel
                                                                       LLP; Hill Peterson Carper Bee & Deitzler
                                                                          PLLC; Levin, Papantonio, Thomas,
                                                                      Mitchell, Rafferty & Proctor, P.A.; McHugh
                                                                                Fuller; Powell & Majestro



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Dismissing Texas        NDOH File No.     Signed With Permission          Dismissing Plaintiff’s Counsel
  Subdivision
  Clay County           1:18-op-45169        /s/Haley & Olson         Harrison Davis Steakley Morrison Jones,
                                                                     P.C.; Altman Legal Group; Haley & Olson
 Coryell County         1:22-op-45009        /s/ Simon Greenstone    Simon Greenstone Panatier, P.C.; Richard
                                                  Panatier, P.C.                   A. Dodd, LC
City of Eagle Pass      1:18-op-46033     /s/Napoli Shkolnik, PLLC    Napoli Shkolnik, PLLC; Luis R. Vera &
                                                                                     Associates
Franklin County         1:18-op-45302       /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Martin
                                                 Panatier, P.C.                    Walker, P.C.
Freestone County        1:19-op-45985       /s/ Simon Greenstone       Simon Greenstone Panatier, P.C.; The
                                                 Panatier, P.C.                   Beckham Group
Galveston County        1:19-op-45239       /s/ Watts Guerra LLP           Watts Guerra LLP; O'Neill Law
 Hardin County          1:19-op-45241       /s/ Simon Greenstone     Simon Greenstone Panatier, P.C.; Paul D.
                                                 Panatier, P.C.      Henderson, P.C.; Dies & Parkhurst, L.L.P.
 Haskell County         1:18-op-45223         /s/Haley & Olson        Harrison Davis Steakley Morrison Jones,
                                                                                P.C.; Haley & Olson
Henderson County        1:19-op-45684    /s/ Fears Nachawati, PLLC   Motley Rice LLC; Fears Nachawati, PLLC;
                                                                         Mathew S. Daniel; Ferrer Poirot &
                                                                                   Wansbrough
  Jasper County         1:19-op-45238       /s/ Simon Greenstone     Simon Greenstone Panatier, P.C.; Paul D.
                                                 Panatier, P.C.      Henderson, P.C.; Dies & Parkhurst, L.L.P.
  Jones County          1:18-op-45139         /s/Haley & Olson        Harrison Davis Steakley Morrison Jones,
                                                                                P.C.; Haley & Olson
Kaufman County          1:18-op-46081    /s/ Fears Nachawati, PLLC    Fears Nachawati, PLLC; Ferrer Poirot &
                                                                                   Wansbrough
 Kendall County         1:22-op-45010       /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Martin
                                                 Panatier, P.C.      Walker, P.C.; The Armstrong Firm, PLLC
 Kinney County          1:18-op-45241         /s/Haley & Olson        Harrison Davis Steakley Morrison Jones,
                                                                                P.C.; Haley & Olson
 Lamar County           1:17-op-45162       /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Martin
                                                 Panatier, P.C.                    Walker, P.C.



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 Dismissing Texas       NDOH File No.     Signed With Permission          Dismissing Plaintiff’s Counsel
   Subdivision
  LaSalle County        1:18-op-45234        /s/Haley & Olson        Harrison Davis Steakley Morrison Jones,
                                                                              P.C.; Haley & Olson
   Leon County          1:19-op-45240       /s/Watts Guerra LLP        Watts Guerra LLP; O'Neill Law; The
                                                                               Gallagher Law Finn
Maverick County         1:19-op-45426    /s/ Napoli Shkolnik, PLLC           Napoli Shkolnik, PLLC
McLennan County         1:17-op-45075         /s/Haley & Olson       Harrison Davis Steakley Morrison Jones,
                                                                              P.C.; Haley & Olson
 Mitchell County        1:18-op-45063        /s/Haley & Olson        Harrison Davis Steakley Morrison Jones,
                                                                              P.C.; Haley & Olson
Montgomery County       1:18-op-45030        /s/Haley & Olson        Harrison Davis Steakley Morrison Jones,
                                                                              P.C.; Haley & Olson
  Morris County         1:17-op-45086      /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Martin
                                                Panatier, P.C.                    Walker, P.C.
  Newton County         1:19-op-45242      /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Paul D.
                                                Panatier, P.C.       Henderson, P.C.; Dies & Parkhurst, L.L.P.
  Nolan County          1:18-op-45061        /s/Haley & Olson        Harrison Davis Steakley Morrison Jones,
                                                                              P.C.; Haley & Olson
   Polk County          1:18-op-45077        /s/Haley & Olson        Harrison Davis Steakley Morrison Jones,
                                                                              P.C.; Haley & Olson
 Red River County       1:17-op-45160      /s/ Simon Greenstone          Simon Greenstone Panatier, P.C.
                                                Panatier, P.C.
   Rusk County          1:17-op-45154      /s/ Simon Greenstone       Simon Greenstone Panatier, P.C.; Martin
                                                Panatier, P.C.          Walker, P.C.; Love Law Firm, P.C.;
                                                                                Adkison Law Finn
  Smith County          1:18-op-45081       /s/ Simon Greenstone      Simon Greenstone Panatier, P.C.; Martin
                                                 Panatier, P.C.                    Walker, P.C.
   Socorro ISD          1:21-op-45080    /s/The Coffman Law Firm     The Coffman Law Firm; Mitchell A. Toups,
                                                                                       Ltd.
 Stephens County        1:18-op-45804    /s/ Fears Nachawati PLLC     Fears Nachawati, PLLC; Ferrer Poirot &
                                                                                   Wansbrough



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   Dismissing Texas         NDOH File No.     Signed With Permission             Dismissing Plaintiff’s Counsel
     Subdivision
    Tarrant County          1:18-op-45274   /s/ The Lanier Law Firm, P.C.   The Lanier Law Firm, P.C.; Law Offices of
                                                                                            Tom Hall
Tarrant County Hospital     1:21-op-45077     /s/ Wick Phillips Gould &        Wick Phillips Gould & Martin, LLP
District d/b/a JPS Health                            Martin LLP
         Network
     Texarkana ISD          1:21-op-45080    /s/The Coffman Law Firm        The Coffman Law Firm; Mitchell A. Toups,
                                                                                               Ltd.
 Throckmorton County        1:18-op-45141         /s/Haley & Olson           Harrison Davis Steakley Morrison Jones,
                                                                                       P.C.; Haley & Olson
     Titus County           1:17-op-45161       /s/ Simon Greenstone         Simon Greenstone Panatier, P.C.; Martin
                                                     Panatier, P.C.                       Walker, P.C.
    Upshur County           1:17-op-45085       /s/ Simon Greenstone         Simon Greenstone Panatier, P.C.; Martin
                                                     Panatier, P.C.             Walker, P.C.; Tefteller Law PLLC
    Walker County           1:19-op-45713         /s/Loevy & Loevy           Loevy & Loevy, Correro & Leisure, P.C.;
                                                                             Park & Durham; G. Allan Van Fleet, P.C.
    Webb County             1:18-op-45175       /s/ Cicala Law Firm           Cicala Law Firm; Sanford Heisler Sharp
    Wichita County          1:18-op-45064         /s/Haley & Olson           Harrison Davis Steakley Morrison Jones,
                                                                             P.C.; Haley & Olson; Altman Law Group
     Zavala County          1:18-op-46036     /s/Napoli Shkolnik, PLLC       Napoli Shkolnik, PLLC; Luis R. Vera &
                                                                                            Associates




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